             Case 2:20-cv-00169-JAK-DFM          Document 81 Filed 05/19/25      Page 1 of 17 Page ID
                                                       #:7346



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                13                     UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                14
                         SONOS, INC.,                           CASE NO. 2:20-cv-00169-JAK (DFMx)
                15
                                    Plaintiff,                  DEFENDANT’S REPLY
                16                                              MEMORANDUM IN FURTHER
                              vs.                               SUPPORT OF ITS MOTION FOR
                17                                              LEAVE TO AMEND ANSWER AND
                         GOOGLE LLC,                            COUNTERCLAIMS
                18
                                    Defendant.
                19
                20                                              Judge:           Hon. John A. Kronstadt
                                                                Hearing Date:    June 2, 2025
                21                                              Hearing Time:    8:30 a.m.
                                                                Courtroom:       10B
                22
                                                                Complaint Filed: Jan. 7, 2020
                23                                              Trial Date: None Set
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01980-00160/15878040.1                                                      Case No. 2:20-cv-00169-JAK (DFMx)
                              DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                                      AMEND ANSWER AND COUNTERCLAIMS
             Case 2:20-cv-00169-JAK-DFM                   Document 81 Filed 05/19/25                    Page 2 of 17 Page ID
                                                                #:7347



                  1                                           TABLE OF CONTENTS
                                                                                                                                      Page
                  2
                  3 I.         ARGUMENT .................................................................................................... 1
                  4            A.       Sonos’s Allegations Of Undue Prejudice Are Speculative
                                        And/Or Legally Irrelevant ....................................................................... 1
                  5
                               B.       Google’s Amendment Is Not Futile ........................................................ 8
                  6
                               C.       Google Did Not Bring Its Amendment In Bad Faith .............................. 9
                  7
                               D.       Google’s Motion Is Not Procedurally Improper ..................................... 9
                  8
                         II.   CONCLUSION ............................................................................................... 10
                  9
                10
                11
                12
                13
                14
                15
                16
                17
                18
                19
                20
                21
                22
                23
                24
                25
                26
                27
                28
01980-00160/15878040.1
                                                              -i-            Case No. 2:20-cv-00169-JAK (DFMx)
                               DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                                       AMEND ANSWER AND COUNTERCLAIMS
             Case 2:20-cv-00169-JAK-DFM                 Document 81 Filed 05/19/25                 Page 3 of 17 Page ID
                                                              #:7348



                  1                                      TABLE OF AUTHORITIES
                  2                                                                                                         Page(s)
                  3 CASES
                  4 Adams v. Easley,
                  5   2011 WL 5103087 (E.D. Cal. Oct. 25, 2011) ........................................................ 4

                 6 AmerisourceBergen Corp. v. Dialysist W., Inc.,
                     465 F.3d 946 (9th Cir. 2006) .................................................................................. 7
                 7
                 8 Apple Inc. v. Samsung Electronics Co. Ltd. et al.,
                     Case No. 2012-cv-00630 (N.D. Cal.) ..................................................................... 5
                 9
                   Cohen v. Suleminian,
                10
                     No. 21-cv-08597, 2024 WL 5440827 (C.D. Cal. Dec. 17, 2024) .......................... 8
                11
                   Complete Genomics, Inc. v. Illumina, Inc.,
                12   No. 1:19-cv-00970 (D. Del.) .................................................................................. 5
                13
                   CVI/Beta Ventures, Inc. v. Custom Optical Frames, Inc.,
                14   896 F. Supp. 505 (D. Md. 1995)............................................................................. 4
                15 Eminence Capital, LLC v. Aspeon, Inc.,
                16   316 F.3d 1048 (9th Cir. 2003) ................................................................................ 2
                17 Freedom Gold USA LLC v. Bank of Am.,
                      2025 WL 1012300 (C.D. Cal. 2025) ...................................................................... 8
                18
                19 Griggs v. Pace Am. Grp., Inc.,
                      170 F.3d 877 (9th Cir. 1999) .................................................................................. 9
                20
                   Hip Hop Beverage Corp. v. RIC Representcoes Importacao e Comercio Ltda.,
                21
                      220 F.R.D. 614 (C.D. Cal. 2003)............................................................................ 2
                22
                   Huawei Technologies Co. Ltd. v. Verizon Communications, Inc. et al.,
                23    No. 2:20-cv-00030-JRG (E.D. Tex.) ...................................................................... 5
                24
                   John-Reif v. Gray,
                25    2025 WL 986137 (E.D. Cal. Apr. 2, 2025) ............................................................ 7
                26 Kelly v. Fashion Nova, Inc.,
                27    2023 WL 9019067 (C.D. Cal. Sept. 7, 2023) ......................................................... 3
                28
01980-00160/15878040.1
                                                              -i-            Case No. 2:20-cv-00169-JAK (DFMx)
                               DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                                       AMEND ANSWER AND COUNTERCLAIMS
           Case 2:20-cv-00169-JAK-DFM                 Document 81 Filed 05/19/25                  Page 4 of 17 Page ID
                                                            #:7349



               1 Liberty Hardware Mfg. Corp. v. Contractors Wardrobe, Inc.,
                    2023 WL 9379150 (C.D. Cal. Nov. 27, 2023) ....................................................... 3
               2
               3 Magnesystems, Inc. v. Nikken, Inc.,
                    933 F. Supp. 944 (C.D. Cal. July 30, 1996) ........................................................... 3
               4
                 Medtronic Inc. v. Axonics Modulation Techs., Inc.,
               5
                    2024 WL 3550482 (C.D. Cal. July 18, 2024) ........................................................ 3
               6
                 Metallgesellschaft AG v. Foster Wheeler Energy Corp.,
               7    143 F.R.D. 553 (D. Del. 1992) ............................................................................... 4
               8
                 Metaswitch Networks Ltd v. GENBAND US LLC, et al.,
               9    No. 2:14-cv-744 (E.D. Tex.) .................................................................................. 5
             10 Morongo Band of Mission Indians v. Rose,
             11   893 F.2d 1074 (9th Cir. 1990) ................................................................................ 7
             12 Pavemetrics Sys., Inc. v. Tetra Tech, Inc.,
             13   2021 WL 4776361 (C.D. Cal. Aug. 23, 2021) ................................................... 3, 5

             14 R Journey, LLC v. Kampgrounds of America, Inc.,
                   2023 WL 2373352 (D. Mont. Mar. 6, 2023) .......................................................... 3
             15
             16 SAES Getters S.p.A. v. Aeronex, Inc.,
                   219 F. Supp. 2d 1081 (S.D. Cal. 2002) .................................................................. 4
             17
                Sonos, Inc. v. Google LLC,
             18    2023 WL 6542320 (N.D. Cal. Oct. 6, 2023) .......................................................... 7
             19
                U.S. ex rel. Technica LLC v. Carolina Cas. Ins. Co.,
             20    2012 WL 1672580 (S.D. Cal. May 14, 2012) ........................................................ 9
             21 Unispec Dev. Corp. v. Harwood K. Smith & Partners,
             22   124 F.R.D. 211 (D. Ariz. 1988).............................................................................. 7
             23 Via Transportation, Inc. v. RideCo, Inc.,
             24    No. 6:21-cv-00457 (W.D. Tex.) ............................................................................. 5

                25 Wood v. Santa Barbara Chamber of Commerce, Inc.,
                       705 F.2d 1515 (9th Cir. 1983) ................................................................................ 7
                26
                27 Xyratex Tech., Ltd. v. Teradyne, Inc.
                       2009 WL 10702551 (C.D. Cal. Apr. 10, 2009) ...................................................... 3
                28
01980-00160/15878040.1
                                                                 -ii-                      Case No. 2:20-cv-00169-JAK (DFMx)
                             DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                                     AMEND ANSWER AND COUNTERCLAIMS
             Case 2:20-cv-00169-JAK-DFM             Document 81 Filed 05/19/25             Page 5 of 17 Page ID
                                                          #:7350



                  1 Ziptronix, Inc. v. Omnivision Techs., Inc.,
                       2012 WL 3155554 (N.D. Cal. Aug. 2, 2012) ......................................................... 3
                  2
                  3
                  4
                  5
                  6
                  7
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                  9
                10
                11
                12
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                15
                16
                17
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                27
                28
01980-00160/15878040.1
                                                           -iii-           Case No. 2:20-cv-00169-JAK (DFMx)
                             DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                                     AMEND ANSWER AND COUNTERCLAIMS
             Case 2:20-cv-00169-JAK-DFM         Document 81 Filed 05/19/25        Page 6 of 17 Page ID
                                                      #:7351



                  1         Sonos’s Opposition identifies no valid reason, under Rule 15 or otherwise, why
                  2 Google’s Motion for Leave to Amend its Answer and Counterclaims (“Motion”)
                  3 should be denied. While Sonos insists that it will be prejudiced by the “new issues”
                  4 Google allegedly seeks to “inject” into the litigation, the fact of the matter is that the
                  5 Google Setup Patents are already at issue in the case. Sonos does not, and cannot,
                  6 dispute that the Google Setup Patents are asserted prior art to the Sonos Setup Patents
                  7 and will necessarily be litigated in this case in connection with invalidity, (lack of)
                  8 willfulness, and damages, or that the relevant products and accused technology
                  9 completely overlap. At most, adding infringement counterclaims will require the
                10 parties to litigate additional, mirror-image claims relevant to existing issues; it will
                11 not require the parties to grapple with new subject matter.
                12          Sonos’s arguments regarding purported prejudice are speculative and/or legally
                13 irrelevant. This case was already complex when Sonos filed a complaint with five
                14 patents from four different families; Sonos chose to make it more complex when it
                15 twice amended to increase the number of patents to eight, and then to ten; there is no
                16 reason to believe (or showing from Sonos) that increasing the total number of patents
                17 from ten to twelve will surpass some “complexity threshold” of the Court or the jury.
                18 The Northern District of California action has been stayed – indefinitely – and, based
                19 on Sonos’s own admission, may never proceed as to the ’615 patent (whose claims
                20 are, in any event, materially different from those of the Google Setup Patents). No
                21 trial date has been set, and a potential two or three month delay is minor compared to
                22 the four year delay caused by Sonos’s tactical decision to prioritize the ITC forum.
                23          Sonos’s remaining arguments – as to alleged futility, bad faith, delay, and
                24 procedure – are equally meritless. The Court should grant Google’s Motion.
                25 I.       ARGUMENT
                26          A.     Sonos’s Allegations Of Undue Prejudice Are Speculative And/Or
                                   Legally Irrelevant
                27
                28          Sonos argues that Google’s proposed amendment will cause undue prejudice
01980-00160/15878040.1
                                                           -1-            Case No. 2:20-cv-00169-JAK (DFMx)
                            DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                                    AMEND ANSWER AND COUNTERCLAIMS
         Case 2:20-cv-00169-JAK-DFM           Document 81 Filed 05/19/25           Page 7 of 17 Page ID
                                                    #:7352



             1 that “alone warrants denial of Google’s Motion.” Opp. at 6. Specifically, Sonos
             2 alleges that Google’s amendment will result in (i) undue complexity and the attendant
             3 risks of inconsistent judgments and jury confusion, (ii) interference with Sonos’s case,
             4 (iii) avoidable waste of judicial and party resources, and (iv) disruption to the case’s
             5 schedule. Id. at 5-6.1 Sonos cites no caselaw indicating how it came up with these
             6 “factors” for determining undue prejudice, which noticeably deviate from the high
             7 bar of “undue prejudice” adopted by the Ninth Circuit. See Mot. at 9 (“‘Undue
             8 prejudice’ means substantial prejudice or substantial negative effect; the Ninth Circuit
             9 has found such substantial prejudice where the claims sought to be added ‘would have
           10 greatly altered the nature of the litigation and would have required defendants to have
           11 undertaken, at a late hour, an entirely new course of defense.’” Hip Hop Beverage
           12 Corp. v. RIC Representcoes Importacao e Comercio Ltda., 220 F.R.D. 614, 622 (C.D.
           13 Cal. 2003) (citation omitted). Sonos has not, and cannot, meet its burden of showing
           14 undue prejudice from Google’s proposed amendment, which is made at the outset of
           15 discovery and before any trial date has been set. Eminence, 316 F.3d at 1052 (“party
           16 opposing amendment ‘bears the burden of showing prejudice.’” (citation omitted)).
           17           No Undue Complication. Sonos asserts that adding the Google Setup Patent
           18 counterclaims would “inject a myriad of new issues into this case and create both a
           19 substantial likelihood of jury confusion and a significant risk of conflicting
           20 judgments” into an otherwise “straightforward dispute between a patentee and an
           21 alleged infringer.” Opp. at 6. This argument is flawed on several levels.
           22           First, Sonos does not dispute that Google’s Setup Patents overlap significantly
           23 with Sonos’s Setup Patents, and are in fact already front and center in this case with
           24
           25   1
                          Sonos cites to Eminence Capital, LLC v. Aspeon, Inc., for the proposition that these
                26 factors establish prejudice that “alone warrants denial of Google’s Motion.” See Opp.
                       at 6. Eminence makes no reference to these factors and, indeed, found the absence of
                27 prejudice entitled the moving party to “a presumption under Rule 15(a) in favor of
                28 granting leave to amend.” 316 F.3d 1048, 1052 (9th Cir. 2003).
01980-00160/15878040.1
                                                               -2-               Case No. 2:20-cv-00169-JAK (DFMx)
                        DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                                AMEND ANSWER AND COUNTERCLAIMS
             Case 2:20-cv-00169-JAK-DFM             Document 81 Filed 05/19/25       Page 8 of 17 Page ID
                                                          #:7353



                  1 respect to issues such as invalidity, lack of willfulness, and damages. See Mot. 7-9.
                  2 Sonos also does not dispute that it would be asserting its own Setup Patents as prior
                  3 art to the Google Setup Patents. Id. Sonos further does not dispute that adding the
                  4 counterclaims would not materially affect the scope of fact discovery.                     Id.
                  5 Accordingly, Sonos’s suggestion that allowing these patent infringement
                  6 counterclaims would prejudice Sonos by introducing “a myriad of new issues” into
                  7 the case is simply incorrect. To the contrary, given the overlap with existing claims
                  8 and issues, and the very preliminary stage of the litigation, these are the very
                  9 circumstances in which courts have found a lack of prejudice and granted leave to
                10 amend. See, e.g., Pavemetrics Sys., Inc. v. Tetra Tech, Inc., 2021 WL 4776361, at *4
                11 (C.D. Cal. Aug. 23, 2021); Medtronic Inc. v. Axonics Modulation Techs., Inc., 2024
                12 WL 3550482, at *2 (C.D. Cal. July 18, 2024); Kelly v. Fashion Nova, Inc., 2023 WL
                13 9019067, at *6 (C.D. Cal. Sept. 7, 2023); see also, e.g., Ziptronix, Inc. v. Omnivision
                14 Techs., Inc., 2012 WL 3155554, at *5 (N.D. Cal. Aug. 2, 2012).
                15             Second, by Sonos’s own admission, “[e]ven without Google’s proposed
                16 amendment, this is a complex case. Sonos has sued Google on ten patents.” Opp. at
                17 7. In other words, because Sonos elected to increase the number of patents in the case
                18 from five (in January 2020) to eight (in October 2024) to ten (in November 2020),
                19 this case is already “complex” – and Sonos’s contention that adding two more patents
                20 on overlapping technology would suddenly make the case “undu[ly] complicat[ed]”
                21 is unsupported and entirely speculative. Id. at 6. Moreover, the cases cited by Sonos
                22 are either inapposite2 or support granting leave to amend. For example, in R Journey,
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                         2
                24           See Liberty Hardware Mfg. Corp. v. Contractors Wardrobe, Inc., 2023 WL
                         9379150, at *3-4 (C.D. Cal. Nov. 27, 2023) (declining to dismiss compulsory
                25       counterclaims); Xyratex Tech., Ltd. v. Teradyne, Inc. 2009 WL 10702551, at *4 (C.D.
                26       Cal. Apr. 10, 2009) (denying motion to amend where “the Court’s review of the three
                         [counterclaim] patents reveals that the patents involve distinct subject matter and there
                27       is no overlap between the claims of the [plaintiff’s] patent and those of the
                28       [counterclaim] patents.”); Magnesystems, Inc. v. Nikken, Inc., 933 F. Supp. 944, 952
01980-00160/15878040.1
                                                               -3-            Case No. 2:20-cv-00169-JAK (DFMx)
                                DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                                        AMEND ANSWER AND COUNTERCLAIMS
         Case 2:20-cv-00169-JAK-DFM           Document 81 Filed 05/19/25            Page 9 of 17 Page ID
                                                    #:7354



             1 LLC v. Kampgrounds of America, Inc., the Court declined to dismiss a permissive
             2 counterclaim which was related to and “exist[ed] within the broad scope” of the
             3 existing claims, finding that the counterclaim would not “confuse the litigation” but
             4 instead “would serve judicial economy to resolve [the counterclaim] rather than force
             5 Defendant to file a separate suit.” 2023 WL 2373352, at *13 (D. Mont. Mar. 6, 2023).
             6 Sonos’s assertion that granting leave to amend would “guarantee[] jury confusion” is
             7 similarly based on conjecture and illogical surmises. See Opp. at 7-8 (speculating that
             8 “the jury may (incorrectly) conclude that Google cannot have infringed Sonos’s
             9 patents if it concludes Sonos did not infringe Google’s. Or it may invite a similar
           10 fallacy that if Google infringed Sonos’s patents, Sonos must have done the same with
           11 respect to Google’s patents.”). Under Sonos’s reasoning, no court could ever allow
           12 parties to assert dueling patent infringement claims in the same case, when in fact
           13 such cases routinely go forward. See, e.g., SAES Getters S.p.A. v. Aeronex, Inc., 219
           14 F. Supp. 2d 1081, 1092 (S.D. Cal. 2002) (granting leave to add patent infringement
           15 counterclaims to patent infringement case, because ensuring “that both ‘dueling’
           16 patents can be adjudicated together is precisely the sort of wise judicial
           17
                18 (C.D. Cal. July 30, 1996) (denying motion for leave to file amended answer filed after
                19 summary judgment (and affirmance on appeal), because doing so “would inject a
                       completely new case into the body of an old matter that is winding down”);
                20 Metallgesellschaft AG v. Foster Wheeler Energy Corp., 143 F.R.D. 553, 555-57 (D.
                21 Del. 1992) (granting motion to dismiss, and denying motion to consolidate
                       counterclaims under Rules 12, 13, 19, and 20; and not addressing Rule 15 at all);
                22 CVI/Beta Ventures, Inc. v. Custom Optical Frames, Inc., 896 F. Supp. 505, 507 (D.
                23 Md. 1995) (granting motion to sever counterclaim under Rule 21 where “[t]wo of the
                       three individual joint owners of the ’485 patent are not parties to the current litigation
                24 and four parties in the current litigation have no interest in the [counterclaim] at all”
                25 such that permitting the counterclaim “would mean that each Plaintiff uninvolved in
                       the Counterclaim would bear the burden of extended and costly discovery, pretrial
                26 procedures and motions practice while they waited for adjudication of their own
                27 claims.”); Adams v. Easley, 2011 WL 5103087, at *4 (E.D. Cal. Oct. 25, 2011)
                       (denying second motion to amend where plaintiff was “already litigating the exact
                28 same claims in a different suit”) (emphasis added).
01980-00160/15878040.1
                                                                 -4-              Case No. 2:20-cv-00169-JAK (DFMx)
                        DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                                AMEND ANSWER AND COUNTERCLAIMS
        Case 2:20-cv-00169-JAK-DFM            Document 81 Filed 05/19/25            Page 10 of 17 Page ID
                                                    #:7355



             1 administration, giving regard to conservation of judicial resources and comprehensive
             2 disposition of litigation,” and further holding that a case involving patent infringement
             3 claims and counterclaims is not “any more confusing to a jury than the innumerable
             4 patent cases filed dealing with technology far more complex.”) (internal quotations
             5 and citation omitted); Pavemetrics, 2021 WL 4776361, at *4.3 Any potential risk of
             6 juror confusion can be avoided through alternative means, such as jury instructions.
             7          Third, Sonos’s argument that Google’s Setup Patents should be added to the
             8 pending Northern District of California action, whereas allowing the amendment here
             9 “creates additional work and complexity for the courts” and “poses an entirely
           10 avoidable risk of inconsistent decisions” (Opp. at 9), is both factually and legally
           11 erroneous. As an initial matter, the Google Setup Patents are materially distinct from
           12 the ’615 patent asserted in the Northern District of California action, as each requires
           13 elements not claimed in that patent or found in the prior art (but which are present in
           14 Sonos’s infringing products – see Ex. 5). Indeed, were that not the case, the PTO
           15 would have declined to issue the Google Setup Patents in the first place due to the
           16 prohibition on double patenting. For example, the ’608 Google Setup Patent requires
           17 (inter alia) that the device being setup on the WLAN is a “streaming media device”
           18 and that the process include “a visual indication that indicates the commissioning
           19 process is complete” – none of which is claimed in the ’615 patent. Ex. 4 at Claim
           20 1.4 The ’790 Google Setup Patent requires (inter alia) two wireless radios be used as
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                 3
                See also Via Transportation, Inc. v. RideCo, Inc., No. 6:21-cv-00457 (W.D. Tex.);
           23
              Huawei Technologies Co. Ltd. v. Verizon Communications, Inc. et al., No. 2:20-cv-
           24 00030-JRG (E.D. Tex.); Complete Genomics, Inc. v. Illumina, Inc., No. 1:19-cv-
              00970 (D. Del.); Apple Inc. v. Samsung Electronics Co. Ltd. et al., Case No. 2012-cv-
           25
              00630 (N.D. Cal.); Metaswitch Networks Ltd. v. GENBAND US LLC, et al., No. 2:14-
           26 cv-744 (E.D. Tex.).
                 4
           27             Moreover, each of these limitations were identified by the Examiner as missing in
                       the prior art during examination, including over the prior art used by Sonos in the ’615
                28 patent IPR to invalidate claim 1 of the ’615 patent.
01980-00160/15878040.1
                                                                 -5-               Case No. 2:20-cv-00169-JAK (DFMx)
                         DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                                 AMEND ANSWER AND COUNTERCLAIMS
        Case 2:20-cv-00169-JAK-DFM          Document 81 Filed 05/19/25          Page 11 of 17 Page ID
                                                  #:7356



            1 part of the setup process, whereas the ’615 patent only requires a single wireless
            2 radio. While Sonos argues that the claims of the Google Setup Patents are “materially
            3 indistinguishable” from claims of the ’615 patent that have been invalidated by PTAB
            4 (Opp. at 13), it provides no support for that assertion. There is none.
            5          More broadly, however, Sonos ignores that the Northern District of California
            6 action is currently stayed, and – despite its protestations that its infringement of the
            7 Google Setup Patents should be litigated in that action – Sonos has not agreed to lift
            8 that stay. This alone renders Sonos’s cited cases inapposite. Moreover, if Sonos’s
            9 pending appeal of the IPR is successful, then the Northern District of California action
           10 will never proceed with respect to the ’615 patent at all. Either way, Sonos’s concerns
           11 regarding the “risk of inconsistent decisions” (Opp. at 9-10) is entirely speculative,
           12 and there is no per se rule requiring all patents in the same family – no matter how
           13 distinct, such as the ’615 patent from the Google Setup Patents – to be consolidated
           14 in the same patent infringement action (nor does Sonos cite any such authority). And
           15 as set forth above (and not disputed by Sonos), the unique circumstances in this case,
           16 where the Sonos Setup Patents overlap with, and are in fact invalidated by, the Google
           17 Setup Patents, makes it one where judicial economy strongly favors granting leave to
           18 add these patents as counterclaims.
           19          No Disruption to Sonos’s Case. Sonos argues that “Google is bringing these
           20 patents here (rather than with its related patent in the Northern District of California)”
           21 as a “strategic[]” attempt to “disrupt Sonos’s case.” Opp. at 10. Not so. Google seeks
           22 to bring its claims concerning the Google Setup Patents in this action because the
           23 substantial overlap in patents, technology, prior art, and relevant products is
           24 conducive to the preservation of finite resources. Cf. Opp. at 10 (“Google knows that
           25 the number of resources available to adjudicate any given case are finite.”). Nor, as
           26 explained above, is there any undue disruption to Sonos from adding two patents to a
           27 ten-patent case, especially given that Sonos already chose to disrupt its own case twice
                28 with the inclusion of five additional patents. Finally, Sonos’s suggestion that Google
01980-00160/15878040.1
                                                              -6-             Case No. 2:20-cv-00169-JAK (DFMx)
                       DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                               AMEND ANSWER AND COUNTERCLAIMS
        Case 2:20-cv-00169-JAK-DFM           Document 81 Filed 05/19/25          Page 12 of 17 Page ID
                                                   #:7357



             1 is the party trying to “abuse the system” (Opp. at 10) is baseless and in fact
             2 contradicted by the district court’s findings in Sonos, Inc. v. Google LLC, which
             3 expressly found that Sonos’s “clear abuse of the PTO’s patent examination system”
             4 rendered its patents unenforceable. See 2023 WL 6542320, at *26 & 30 (N.D. Cal.
             5 Oct. 6, 2023) (“It is wrong that our patent system was used in this way. With its
             6 constitutional underpinnings, this system is intended to promote and protect
             7 innovation. Here, by contrast, it was used to punish an innovator [Google] and to
             8 enrich a pretender [Sonos] by delay and sleight of hand. It has taken a full trial to
             9 learn this sad fact, but, at long last, a measure of justice is done.”) (internal quotation
           10 and citation omitted).5
           11          No Avoidable Waste. As explained above, adding Google’s counterclaims
           12 would prevent waste of party and judicial resources. And Sonos does not identify any
           13 actual resources that would be preserved, rather than merely shifted, if the Google
           14 Setup Patent infringement claims were litigated elsewhere. None of the cases cited
           15 by Sonos are patent cases, and all are legally and factually distinguishable. See John-
           16 Reif v. Gray, 2025 WL 986137, at *3 (E.D. Cal. Apr. 2, 2025) (denying pro se
           17 plaintiff’s motion for leave to proceed in forma pauperis); Morongo Band of Mission
           18 Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990) (denying motion for leave to
           19 amend complaint to add RICO claims filed “[a]fter the dismissal of [plaintiff’s]
           20 original compliant, and nearly two years after its filing” based on, inter alia,
           21 “inordinate delay” and “potential futility”); AmerisourceBergen Corp. v. Dialysist W.,
           22 Inc., 465 F.3d 946, 953 (9th Cir. 2006) (denying motion for leave to amend complaint
           23
           24   5
                         Sonos’s cases are inapposite. See Wood v. Santa Barbara Chamber of Commerce,
                25 Inc., 705 F.2d 1515, 1520 (9th Cir. 1983) (addressing bad faith, not prejudice, based
                       on plaintiff’s “repetitious motions to amend” and attempt to “import[ ] into [the] case
                26 [new] claims and defendants that were already present” in another pending litigation);
                27 Unispec Dev. Corp. v. Harwood K. Smith & Partners, 124 F.R.D. 211, 217 (D. Ariz.
                       1988) (denying leave to add unrelated negligence counterclaim at late stage to a case
                28 concerning recovery of architectural project expenses).
01980-00160/15878040.1
                                                                 -7-            Case No. 2:20-cv-00169-JAK (DFMx)
                        DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                                AMEND ANSWER AND COUNTERCLAIMS
            Case 2:20-cv-00169-JAK-DFM         Document 81 Filed 05/19/25       Page 13 of 17 Page ID
                                                     #:7358



                  1 seeking to advance “different legal theories” that contradicted positions taken in prior
                  2 pleadings); Cohen v. Suleminian, 2024 WL 5440827, at *5 (C.D. Cal. Dec. 17, 2024)
                  3 (granting leave to amend complaint and counterclaims, but staying case pending
                  4 resolution of state court rescission action because its outcome was “critical” to
                  5 defendant’s breach of contract counterclaim).
                  6        Minimal Disruption to Case Schedule. Sonos argues that adding the Google
                  7 Setup Patent counterclaims would “disrupt the pretrial schedule” and “force Sonos to
                  8 either delay its own claims further or proceed without adequate preparation” (Opp. at
                  9 11, 14), but fails to explain how a two or three month modification of Markman and
                10 related deadlines would impose undue prejudice – particularly where, as here, there
                11 is no trial date set, and Sonos itself served “corrected” infringement contentions on
                12 April 30, 2025 (less than a week before Google served its own infringement
                13 contentions). See Mot. at 4-6. Further, while Sonos argues Google should have
                14 “raised its counterclaims earlier” because the Google Setup Patents issued in 2016
                15 and October 2024 (Opp. at 12), Sonos itself sought to add to the case in October 2024
                16 two patents that issued years before the January 2020 filing of the original complaint
                17 (and which the Court permitted them to do). See Mot. at 14.
                18         B.      Google’s Amendment Is Not Futile
                19         Google’s proposed patent infringement counterclaims would not be futile. As
                20 Sonos acknowledges, a proposed amendment is futile where “no set of facts can be
                21 proved under the amendment to the pleadings that would constitute a valid and
                22 sufficient claim or defense.” Opp. at 12 (citing Freedom Gold USA LLC v. Bank of
                23 Am., N.A., 2025 WL 1012300, at *1 (C.D. Cal. Jan. 24, 2025)) (emphasis added).
                24 That is obviously not the case here, nor has Sonos credibly argued that it is. As
                25 explained above, the Google Setup Patents include specific limitations that are not
                26 found in either the ’615 patent or the prior art, and which will doom any attempt by
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01980-00160/15878040.1
                                                           -8-            Case No. 2:20-cv-00169-JAK (DFMx)
                            DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                                    AMEND ANSWER AND COUNTERCLAIMS
        Case 2:20-cv-00169-JAK-DFM          Document 81 Filed 05/19/25           Page 14 of 17 Page ID
                                                  #:7359



            1 Sonos to avoid liability for its infringement based on an invalidity defense.
            2          C.      Google Did Not Bring Its Amendment In Bad Faith
            3          As explained in Google’s Motion and above, Google seeks leave to amend in
            4 order to address Sonos’s ongoing infringement of the Google Setup Patents and to
            5 promote judicial efficiency. Mot. at 7-9. Accordingly, the entire premise of Sonos’s
            6 argument regarding purported bad faith is flawed. Further, even if it were accurate
            7 (which it is not), the “gamesmanship” alleged by Sonos (Opp. at 13) would not
            8 constitute “bad faith” as relevant to the Rule 15 analysis, nor does Sonos offer any
            9 cases suggesting it could.6
           10          D.     Google’s Motion Is Not Procedurally Improper
           11          Sonos’s final argument, that Google did not comply with the Central District
           12 of California Local Rule 7-3, also fails. Google complied with all procedural
           13 requirements in advance of filing its Motion for Leave to Amend, including L.R 7-3.
           14          As stated by Google’s counsel in his declaration accompanying the Motion:
           15          On April 25, 2025 and April 28, 2025, counsel for Google and Sonos
           16          met and conferred pursuant to Local Rule 7-3 before the filing of
                       Google’s Motion for Leave to Amend its Answer and Counterclaims.
           17
                       I emailed counsel for Sonos a clean and redlined copy of Google’s
           18          proposed Amended Answer and Counterclaims on April 25, 2025, and
           19          also called and left a voicemail. On April 28, 2025, I emailed again and
                       Sonos’s counsel confirmed that it opposes this Motion.
           20
           21 Dkt. 79-3 [Judah Declaration] ¶ 9. The declaration also attached, as an exhibit, the
           22 relevant correspondence (which Sonos characterizes in its Opposition, but fails to
           23 quote). Id., Ex. 7. Specifically, on April 25, 2025, in addition to sending the clean
           24
           25
                6
                          The cases cited by Sonos address either prejudice (not bad faith), U.S. ex rel.
                26 Technica LLC v. Carolina Cas. Ins. Co., 2012 WL 1672580, at *3 (S.D. Cal. May 14,
                27 2012), or did not result in a finding of bad faith because, like Google, the moving
                       party did not advance “baseless legal theories.” Griggs v. Pace Am. Grp., Inc., 170
                28 F.3d 877, 881 (9th Cir. 1999) (reversing court’s decision denying leave to amend).
01980-00160/15878040.1
                                                                -9-            Case No. 2:20-cv-00169-JAK (DFMx)
                        DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                                AMEND ANSWER AND COUNTERCLAIMS
            Case 2:20-cv-00169-JAK-DFM        Document 81 Filed 05/19/25       Page 15 of 17 Page ID
                                                    #:7360



                  1 and redlined copy of Google’s proposed Amended Answer and Counterclaims,
                  2 counsel for Google wrote, “Please let us know if Sonos will consent to the
                  3 amendment; otherwise Google will be moving for leave to amend. We are available
                  4 this afternoon or Monday to telephonically meet and confer.” Id. Later that same
                  5 day, after not hearing from Sonos, counsel for Google also called Sonos counsel (Cole
                  6 Richter) to discuss the motion and Sonos’s position, and left a voicemail message
                  7 when counsel did not answer. Counsel for Google then emailed again on Monday
                  8 morning, stating: “Following up on my meet and confer email below and my
                  9 voicemail to Cole, we are available this afternoon if Sonos would like to
                10 telephonically discuss Google’s proposed amended answer and counterclaims.
                11 Otherwise we understand that Sonos will not consent to the amendment and that
                12 Google will need to file an opposed motion for leave.” Id. In response, counsel for
                13 Sonos (Clement Roberts) wrote, “Thank you for your patience while we discussed the
                14 matter internally. Sonos does not consent to the amendment. If you think it would
                15 be useful to discuss the issue I am available at [number].” Id. (emphasis added).
                16 Because Sonos confirmed unequivocally that it opposed the motion, and did not
                17 identify any disputes that could be narrowed or avoided through further discussion,
                18 counsel for Google determined that it would not be “useful” to discuss the issue
                19 further. Instead, with the impasse confirmed, Google proceeded to file its motion
                20 seven days later pursuant to L.R. 7-3.
                21         Sonos’s Opposition confirms that the meet and confer process was properly
                22 completed here. Despite its “gotcha” argument regarding purported procedural
                23 deficiencies, Sonos fails to identify a single issue which the parties could have agreed
                24 upon or narrowed through further meeting and conferring. There are none.
                25 II.     CONCLUSION
                26         For the foregoing reasons, Google respectfully requests that the Court grant its
                27 Motion for Leave to file an Amended Answer and Counterclaims.
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01980-00160/15878040.1
                                                         -10-            Case No. 2:20-cv-00169-JAK (DFMx)
                           DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                                   AMEND ANSWER AND COUNTERCLAIMS
            Case 2:20-cv-00169-JAK-DFM     Document 81 Filed 05/19/25       Page 16 of 17 Page ID
                                                 #:7361



                  1 DATED: May 19, 2025                   Respectfully submitted,
                  2
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                  4
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01980-00160/15878040.1
                                                       -11-            Case No. 2:20-cv-00169-JAK (DFMx)
                         DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
                                                                 AMEND ANSWER AND COUNTERCLAIMS
            Case 2:20-cv-00169-JAK-DFM          Document 81 Filed 05/19/25       Page 17 of 17 Page ID
                                                      #:7362



                  1                              CERTIFICATE OF SERVICE
                  2           I, James D. Judah, certify that pursuant to Local Rule 5-3, counsel of record
                  3 who have consented to electronic service are being served on May 19, 2025 with
                  4 copies of the attached document(s) via the Court’s CM/ECF system, which will send
                  5 notification of such filing to counsel of record.
                  6
                         DATED: May 19, 2025               Respectfully submitted,
                  7
                  8                                        QUINN EMANUEL URQUHART &
                                                           SULLIVAN, LLP
                  9
                10
                11                                         By /s/ James D. Judah

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01980-00160/15878040.1
                                                            -12-            Case No. 2:20-cv-00169-JAK (DFMx)
                              DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS MOTION FOR LEAVE TO
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